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web.archive.org /web/20231220234035/https://www.inquirer.com/philly/entertainment/music/great-78-project-vinyl-archive-ches…

'The Great 78 Project' is giving history digital life, in Chestnut
Hill




      Audio Engineer Liz Rosenberg and George Blood at the headquarters of the Great 78 Project, a
      nationwide archiving project to transfer 78 rpm music to digital files, in Chestnut Hill, Friday, Aug.
      18, 2017. JESSICA GRIFFIN / Staff PhotographerRead moreJessica Griffin

      by Dan DeLuca

      Published Sep. 15, 2017, 5:00 a.m. ET

We live in a Utopian listening era in which music streaming services offer more than 30 million songs, and
everything ever recorded can be accessed with the click of a touchscreen.

Well, maybe not everything.

For instance, until audio engineer Liz Rosenberg took a fragile 78 rpm shellac disc of the University of
Pennsylvania's Mask and Wig Club's "We'll Paddle Our Canoe" released in 1927 into her nitrile-gloved




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hands and placed it on a crazy-looking four-armed turntable at George Blood Audio in Chestnut Hill on a
recent afternoon, a digital version of the performance did not exist.

But now it does. And that's thanks to the Great 78 Project, an ambitious online undertaking whose initial goal
is to transfer 400,000 sides from the obsolete recording format gathered from around the country and the
world and make them free to download or stream in the digital age.

Seventy-eights dominated the music industry from 1898 — 21 years after Thomas Edison invented the
phonograph in Menlo Park, N.J. — until the 1950s, when lighter, sturdier 33 1/3-rpm vinyl records became
the industry standard.

Eventually, all of those Great 78 recordings — of old blues, country swing, and hot jazz ensembles, not to
mention sound effects, comedy, and spoken word — will be available online at great78.archive.org. Thirty-
five-thousand plus are already there in a searchable database.

And every 10 minutes, analog goes digital as the project's feed tweets out a recording such as Earl Bostic &
His Orchestra's 1949 moody instrumental "No Name Blues" in all its snap and crackly glory.

The Great 78 Project's historical treasure trove is an endeavor of the Internet Archive, the San Francisco-
based nonprofit founded in 1996 that is the home to the Wayback Machine, the storehouse of more than 305
billion web pages whose name is inspired by a time traveling device in Rocky & Bullwinkle cartoon.

The Internet Archive's ambition is to provide, "universal access to all human knowledge," says Blood, a 53-
year-old AV guy par excellence who studied music theory at the University of Chicago. He's a classical
music enthusiast who got his start recording concerts for the Philadelphia Orchestra and Curtis Institute of
Music in the 1980s.

The Archive is a free online library found at archive.org that also gathers millions of books, movies (lots of
cool film noirs), and other stuff. (Search for "Philadelphia" and see historic Inquirer front pages, an 1857
McElroy's Philadelphia Directory of local businesses, and WYSP-FM (94.1)-issued collectible Eagles
cheerleader cards.)

The Archive, which is funded by grants and donations, also contains lots of music, in the form of
downloadable live concerts, with jam bands such as the Grateful Dead featured prominently.

Blood and his engineers first digitized 10,000 tracks for a Library of Congress project called the National
Jukebox (found at loc.gov/jukebox). The Philadelphia preservationist was then approached by Internet
Archive founder Brewster Kale about what became The Great 78 Project.

"He said to me, 'OK, you did 10,000, what would you think of 100,000?' " says Blood, who lives in a restored
Revolutionary War-era house in Society Hill with his wife, Martha.

With that, Blood — whose audio and video transfer business clients include the National Park Service, PBS'
McNeil Lehrer Report, and the Philadelphia hip-hop band the Roots — embarked on the Great 78 Project on
September of 2016.


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It's time consuming work: Each engineer listens to and records both three-minute sides of about fifty 78s
a day.

Blood and company aren't the only ones working on preserving the sounds on the brittle, easily broken discs
for posterity. The Great 78 Project is a community effort. Collections come from libraries and individuals, and
some collectors do the digitizing themselves.

In most cases though, the records come from collectors as they age out of their obsession. "Their children
aren't interested, libraries don't want them, and they're trying to keep them out of the dumpsters," Blood
says. Donated discs get shipped to Blood by the tractor-trailer load.

Groove size varied widely with 78s, making it a guessing game as to what size needles, or stylus, to use. To
save time changing styluses, Blood invented four armed record players that simultaneously capture different
versions of the same recording of, say, Herbi Hardt & His Jesters' 1949 novelty "16 Old Ladies Locked in a
Lavatory."

(And not just four versions, dear audiophiles, but 16. The styluses record both sides of the record's groove
wall, and each of the resulting takes is issued with and without sonic equalization. The engineer then posts
the version that sounds best to them, as well as 15 other alt-takes for other persnickety listeners to peruse.)

The project serves an important historical purpose. "It's a way of looking at the cultural record, at how the
world presented itself," Blood says. "Before Edison, we had no recordings of sound or moving imagery at
any time in history. It's what differentiates the cultural record of the 20th century from any other period."

The discs that come through Blood's studio tend to be a grab-bag of popular tastes and styles, including
personal and vanity recordings. The most expensive 78 ever sold in 2013 was bluesman's Tommy Johnson's
1930 "Alcohol and Jake Blues," which went for $37,100 on eBay in 2013. But in their day, most 78s were
cheap entertainment, affordable even in hard times, selling for a nickel or a dime.

And the project isn't interested in just the cool discoveries, but has an anthropological duty to catalog "all the
other stuff that nobody's ever going to want," as Blood puts it. "All of history isn't just wealthy people and
wars. We're ending up with everything, the religious discs and the sound effects discs and comedy discs that
make you wonder why anybody thought this was funny."

"The terrible stuff and the good stuff tends to balance itself out," says Rosenberg, who's hopeful that the
Great 78 won't stop at 400,000 and will keep going with the goal of digitizing all of the three million or so 78s
that were ever issued.

"Seventy-eights are great examples of how music production and technology have evolved," she says. "In
the early acoustical era of recording [before 1925] the singer had to stand closer to the horn to be recorded,
so you could hear them singing, with the band farther back."

The daily surprises of the recording process includes plenty of "oh-my-goodness moments," she says, from
near pornographic privately-made recordings, to "a lot of people imitating bird calls."



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But along with the ephemera, there are gems.

Rosenberg has had several copies cross her desk of "Shout, Sister, Shout!," the 1941 recording with Lucky
Millinder and his Orchestra by Sister Rosetta Tharpe, the great pre-rock singer and guitarist who is buried in
Northwood Cemetery in Philadelphia.

"I get particularly excited whenever I see one of those," Rosenberg says. She also cites the Judy Garland
recordings of "Friendly Star" and "Get Happy," from the 1950 musical Summer Stock as favorites, as well as
"Rip It Up," the riotous Little Richard classic recorded on 78 for the Specialty label in 1956. "That's my pride
and joy."




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